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                                   UNITED STATES BANKRUPTCY COURT
                                            FOR THE DISTRICT OF DELAWARE



In re: Vidalia Real Estate Partners                               §                 Case No. 18-12530
                                                                  §
                                                                                    Lead Case No. 18-12491
                                                                  §
                      Debtor(s)                                   §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 12/31/2024                                                            Petition Date: 11/04/2018



Plan Confirmed Date:09/17/2020                                                       Plan Effective Date: 10/01/2020


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity: Advisory Trust Group
                                                                                  Name of Authorized Party or Entity




/s/ Colin Robinson                                                      Colin Robinson
Signature of Responsible Party                                           Printed Name of Responsible Party
01/23/2025
Date
                                                                        919 N Market St # 1700, Wilmington, DE 19801
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Part 1: Summary of Post-confirmation Transfers

                                                                                                                     Total Since
                                                                                            Current Quarter         Effective Date

  a. Total cash disbursements                                                                               $0                   $0
 b. Non-cash securities transferred                                                                         $0                   $0
  c. Other non-cash property transferred                                                                    $0                   $0
 d. Total transferred (a+b+c)                                                                               $0                   $0

Part 2: Preconfirmation Professional Fees and Expenses
                                                                               Approved       Approved     Paid Current     Paid
                                                                             Current Quarter Cumulative      Quarter      Cumulative
a.      Professional fees & expenses (bankruptcy)
        incurred by or on behalf of the debtor             Aggregate Total
        Itemized Breakdown by Firm
                 Firm Name                          Role
        i
        ii
        iii
        iv
        v
        vi
        vii
        viii
        ix
        x
        xi
        xii
        xiii
        xiv
        xv
        xvi
        xvii
        xviii
        xix
        xx
        xxi
        xxii
        xxiii
        xxiv
        xxv
        xxvi
        xxvii
        xxviii
        xxix


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        xxx
        xxxi
        xxxii
        xxxiii
        xxxiv
        xxxv
        xxxvi
        xxxvii
        xxxvii
        xxxix
        xl
        xli
        xlii
        xliii
        xliv
        xlv
        xlvi
        xlvii
        xlviii
        xlix
        l
        li
        lii
        liii
        liv
        lv
        lvi
        lvii
        lviii
        lix
        lx
        lxi
        lxii
        lxiii
        lxiv
        lxv
        lxvi
        lxvii
        lxviii
        lxix
        lxx
        lxxi

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        lxxii
        lxxiii
        lxxiv
        lxxv
        lxxvi
        lxxvii
        lxxviii
        lxxix
        lxxx
        lxxxi
        lxxxii
        lxxxiii
        lxxxiv
        lxxxv
        lxxxvi
        lxxxvi
        lxxxvi
        lxxxix
        xc
        xci
        xcii
        xciii
        xciv
        xcv
        xcvi
        xcvii
        xcviii
        xcix
        c
        ci


                                                                              Approved       Approved     Paid Current     Paid
                                                                            Current Quarter Cumulative      Quarter      Cumulative
b.      Professional fees & expenses (nonbankruptcy)
        incurred by or on behalf of the debtor            Aggregate Total
        Itemized Breakdown by Firm
                  Firm Name                        Role
        i
        ii
        iii
        iv
        v
        vi


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        vii
        viii
        ix
        x
        xi
        xii
        xiii
        xiv
        xv
        xvi
        xvii
        xviii
        xix
        xx
        xxi
        xxii
        xxiii
        xxiv
        xxv
        xxvi
        xxvii
        xxviii
        xxix
        xxx
        xxxi
        xxxii
        xxxiii
        xxxiv
        xxxv
        xxxvi
        xxxvii
        xxxvii
        xxxix
        xl
        xli
        xlii
        xliii
        xliv
        xlv
        xlvi
        xlvii
        xlviii

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        xlix
        l
        li
        lii
        liii
        liv
        lv
        lvi
        lvii
        lviii
        lix
        lx
        lxi
        lxii
        lxiii
        lxiv
        lxv
        lxvi
        lxvii
        lxviii
        lxix
        lxx
        lxxi
        lxxii
        lxxiii
        lxxiv
        lxxv
        lxxvi
        lxxvii
        lxxviii
        lxxix
        lxxx
        lxxxi
        lxxxii
        lxxxiii
        lxxxiv
        lxxxv
        lxxxvi
        lxxxvi
        lxxxvi
        lxxxix
        xc

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            xci
            xcii
            xciii
            xciv
            xcv
            xcvi
            xcvii
            xcviii
            xcix
            c
            ci
c.          All professional fees and expenses (debtor & committees)

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                % Paid of
                                                  Payments          Paid Current                                            Allowed
                                                 Under Plan           Quarter           Paid Cumulative   Allowed Claims     Claims
 a. Administrative claims                                      $0              $0                    $0                $0         0%
 b. Secured claims                                             $0               $0                   $0                $0         0%
 c. Priority claims                                            $0              $0                    $0                $0         0%
 d. General unsecured claims                                   $0                  $0                $0                $0         0%
 e. Equity interests                                           $0               $0                   $0


Part 4: Questionnaire
     a. Is this a final report?                                                                           Yes    No
             If yes, give date Final Decree was entered:
         If no, give date when the application for Final Decree is anticipated:         12/31/2025
  b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                Yes    No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ Robert Michaelson                                                 Robert Michaelson
Signature of Responsible Party                                         Printed Name of Responsible Party
Co-Managing Member                                                     01/23/2025
Title                                                                  Date




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                                                Bankruptcy Table 51-100




                                                Non-Bankruptcy Table 1-50




                                               Non-Bankruptcy Table 51-100




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